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                                                                                                      #:6209

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                                                                   5
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                                                                   6    Michele Vives
                                                                   7
                                                                   8                       UNITED STATES DISTRICT COURT
                                                                   9                      CENTRAL DISTRICT OF CALIFORNIA
                                                                  10   SECURITIES AND EXCHANGE                    Case No. 2:21-cv-02927-CAS-PD
                                                                       COMMISSION,
K ATTEN M U C HIN R O S ENMAN L L P




                                                                  11                                              NINETEENTH MONTHLY FEE
                                                                                   Plaintiff,                     STATEMENT OF RECEIVER
                                                                  12                                              MICHELE VIVES—JULY 2023
                                                                             v.
                                      5 2 5 W . M ON ROE S T.
                                      CH I CA GO, I L 6 06 61




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                                         (3 1 2 ) 9 0 2 -520 0




                                                                                                                  Judge:     Hon. Christina A. Snyder
                                                                       ZACHARY J. HORWITZ; and 1inMM              Courtroom: 8D
                                                                  14   CAPITAL, LLC,
                                                                  15               Defendants.
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                                                                                                                                     Case No. 2:21-cv-02927-CAS-PD
                                                                   1                                                   NINET EENT H MONT HLY FEE ST AT EMENT OF
                                                                                                                            RECEIVER MICHELE VIVES—JULY 2023
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                                                                   1          Michele Vives, in her capacity as the receiver in the above-captioned action
                                                                   2   (the “Receiver”), pursuant to paragraphs 3(b) and 3(d) of the Order Granting Motion
                                                                   3   of Receiver Michele Vives for Order Establishing Procedures for Allowance of
                                                                   4   Compensation and Reimbursement of Expenses, dated February 22, 2022 [ECF #77]
                                                                   5   (the “Interim Compensation Procedures Order”), hereby files this monthly fee
                                                                   6   statement (this “Monthly Fee Statement”) for (i) compensation in the amount of
                                                                   7   $69,660.00 (80% of $87,075.00)1 for the reasonable and necessary services rendered
                                                                   8   by the Receiver from July 1, 2023 through and including July 31, 2023 (the “Fee
                                                                   9   Period”) and (ii) reimbursement of the actual and necessary expenses that the
                                                                  10   Receiver incurred, in the amount of $28.05 during the Fee Period.
                                                                                                  Statement of Fees and Expenses
K ATTEN M U C HIN R O S ENMAN L L P




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                                                                  12          In support of this Monthly Fee Statement, attached are the following exhibits:
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                                      5 2 5 W . M ON ROE S T.
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                                                                  13                 Exhibit A is a schedule for the Fee Period, setting forth the total
                                         (3 1 2 ) 9 0 2 -520 0




                                                                  14   amounts of compensation sought with respect to each category of services for which
                                                                  15   the Receiver is seeking payment in this Monthly Fee Statement.
                                                                  16          •      Exhibit B is a schedule for the Fee Period providing certain information
                                                                  17   regarding the professionals for whose work in this receivership compensation is
                                                                  18   sought in this Monthly Fee Statement. The Receiver and her staff at Douglas Wilson
                                                                  19   Companies have expended a total of 376.3 hours in connection with this proceeding
                                                                  20   during the Fee Period.
                                                                  21          •      Exhibit C is a schedule for the Fee Period, setting forth the total amount
                                                                  22   of reimbursement sought with respect to each category of expenses for which the
                                                                  23   Receiver is seeking reimbursement in this Monthly Fee Statement. All of these
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                                                                  27   1 The Receiver voluntarily reduced her fees for the Fee Period by $2,754.00, attributable to
                                                                  28   preparation of fee applications, as an accommodation to the receivership estate.
                                                                                                                                           Case No. 2:21-cv-02927-CAS-PD
                                                                   1                                                         NINET EENT H MONT HLY FEE ST AT EMENT OF
                                                                                                                                  RECEIVER MICHELE VIVES—JULY 2023
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                                                                   1   disbursements comprise the requested sum for the Receiver’s out of pocket
                                                                   2   expenses.
                                                                   3         •      Exhibit D consists of the Receiver’s invoice of fees and expenses
                                                                   4   incurred during the Fee Period in the rendition of the professional services to the
                                                                   5   Receiver. This invoice may have been redacted to maintain privilege and
                                                                   6   confidentiality, in accordance with paragraph 3(a) of the Interim Compensation
                                                                   7   Procedures Order.
                                                                   8         Although every effort has been made to include in this Monthly Fee Statement
                                                                   9   all fees and expenses incurred in the Fee Period, some fees and expenses might not
                                                                  10   be included in this Monthly Fee Statement due to delays caused by accounting and
                                                                       processing during the Fee Period. The Receiver reserves the right to make further
K ATTEN M U C HIN R O S ENMAN L L P




                                                                  11
                                                                  12   application to this Court for allowance of such fees and expenses not included herein
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                                                                  13   in accordance with the Interim Compensation Procedures Order.
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                                                                  14         Notice of this Monthly Fee Statement will be provided in accordance with the
                                                                  15   procedures set forth in the Interim Compensation Procedures Order.
                                                                  16                                    Objection Period
                                                                  17         The Notice Parties specified in paragraph 3(a) of the Interim Compensation
                                                                  18   Procedures Order shall have 10 days from the date hereof, i.e., until 4:00 p.m.
                                                                  19   prevailing Pacific Time on August 21, 2023 (the “Objection Period”), to review the
                                                                  20   Monthly Fee Statement and serve a Notice of Objection (as defined in the Interim
                                                                  21   Compensation Procedures Order) on the Receiver.
                                                                  22         In accordance with paragraph 3(c) of the Interim Compensation Procedures
                                                                  23   Order, after the Objection Period expires at 4:00 p.m. prevailing Pacific Time on
                                                                  24   August 21, 2023, the Receiver shall pay, without further order of the Court, 80% of
                                                                  25   the fees and 100% of the expenses the Receiver has requested in the Monthly Fee
                                                                  26   Statement that are not the subject of a Notice of Objection. Based on that formula,
                                                                  27   the Receiver shall receive $69,660.00 of the fees and $28.05 of the expenses unless
                                                                  28   a timely Notice of Objection is served.
                                                                                                                                       Case No. 2:21-cv-02927-CAS-PD
                                                                   1                                                     NINET EENT H MONT HLY FEE ST AT EMENT OF
                                                                                                                              RECEIVER MICHELE VIVES—JULY 2023
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                                                                                                   #:6212


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                                                                   2    Dated: August 10, 2023         Respectfully submitted,
                                                                   3                                   KATTEN MUCHIN ROSENMAN LLP
                                                                   4                                   By:       /s/Terence G. Banich
                                                                                                                 Terence G. Banich
                                                                   5
                                                                                                       Attorneys for the Receiver
                                                                   6                                   Michele Vives
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                                                                   1                                                  NINET EENT H MONT HLY FEE ST AT EMENT OF
                                                                                                                           RECEIVER MICHELE VIVES—JULY 2023
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                                                                                                      PROOF OF SERVICE
                                                                   1
                                                                       STATE OF ILLINOIS, COUNTY OF COOK
                                                                   2
                                                                             At the time of service, I was over 18 years of age and not a party to this action.
                                                                   3   I am employed in the County of Cook, State of Illinois. My business address is 525
                                                                       W. Monroe St., Chicago, IL 60661.
                                                                   4
                                                                             On August 10, 2023, I served the following document(s) described as:
                                                                   5
                                                                           NINETEENTH MONTHLY FEE STATEMENT OF RECEIVER
                                                                   6   MICHELE VIVES—JULY 2023
                                                                   7         on counsel of record in this action as follows:
                                                                   8   [ ] BY MAIL: I enclosed the document(s) in a sealed envelope or package
                                                                       addressed to the persons at the addresses listed above and placed the envelope for
                                                                   9   collection and mailing, following our ordinary business practices. I am readily
                                                                       familiar with Katten Muchin Rosenman LLP practice for collecting and processing
                                                                  10   correspondence for mailing. On the same day that the correspondence is placed for
                                                                       collection and mailing, it is deposited in the ordinary course of business with the
K ATTEN M U C HIN R O S ENMAN L L P




                                                                  11   United States Postal Service, in a sealed envelope with postage fully prepaid.
                                                                  12   [ ] BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused the
                                                                       document(s) to be sent from e-mail address terence.banich@katten.com to the
                                      5 2 5 W . M ON ROE S T.
                                      CH I CA GO, I L 6 06 61




                                                                  13   persons at the e-mail addresses listed above. I did not receive, within a reasonable
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                                                                       time after the transmission, any electronic message or other indication that the
                                                                  14   transmission was unsuccessful.
                                                                  15   [ ] BY OVERNIGHT MAIL (FedEx): I enclosed said document(s) in an
                                                                       envelope or package provided by FEDEX and addressed to the persons at the
                                                                  16   addresses listed above. I placed the envelope or package for collection and overnight
                                                                       delivery at an office or a regularly utilized drop box of FEDEX or delivered such
                                                                  17   document(s) to a courier or driver authorized by FEDEX to receive documents.
                                                                  18   [ ] BY PERSONAL SERVICE: I caused said document to be personally
                                                                       delivered the document(s) to the person at the addresses listed above by leaving the
                                                                  19   documents in an envelope or package clearly labeled to identify the attorney being
                                                                       served with a receptionist or an individual in charge of the office.
                                                                  20
                                                                       [X] E-FILING: By causing the document to be electronically filed via the Court’s
                                                                  21   CM/ECF system, which effects electronic service on counsel who are registered with
                                                                       the CM/ECF system.
                                                                  22
                                                                              I declare under penalty of perjury under the laws of the State of Illinois that
                                                                  23   the foregoing is true and correct.
                                                                  24         Executed on August 10, 2023, at Chicago, Illinois.
                                                                  25
                                                                                                                      /s/Terence G. Banich
                                                                  26                                                  Terence G. Banich
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                                                                                                                                        Case No. 2:21-cv-02927-CAS-PD
                                                                   1                                                      NINET EENT H MONT HLY FEE ST AT EMENT OF
                                                                                                                               RECEIVER MICHELE VIVES—JULY 2023
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